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CASE NO.:

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DAvtD MADISON cAwTHoRN. ' ' `

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VS.

AUTO-OWNERS INSURANCE
COMPANY,

Def`endant.

 

COMPLAINT FOR COMMON LAW BAD FAITH
AND I)LMAND FOR JURY TRIAL

David Madison Cawthorn (“l\/lr. Cawtltorn"), b_v and through undersigned counsel, sues

Auto-Owners lnsurance Company ("Auto~Owners") and states as l`ollows:
Nature of the Action, Jurisdiction, and Venue

l. This is a common law bad faith action seeking damages for Auto Owners’ bad
faith handling ot` the catastrophic bodily injury claims ol` l\'lr. Cawthorn against Auto~Owners`
insured. Bradlcy David Ledl`ord ("t\/lr. Lcdl`ord"). including Auto-()wners` bad faith failure to
settle the claims against Mr. Ledt`ord when. under all ol` the circumstances, it could and should
have done so. had it acted fairly and honestly towards Mr. Ledt`ord and with due regard for his
interests

2. This Court has jurisdiction over this action because the amount in controversy is
more than 315.000.()0. exclusive ol`costs. interest. and attorneys` fees.

3. Venue is proper in this judicial district because the automobile accident caused
by l\/Ir. I-edt`ord. in which l\'lr. L`a\\'thorn sul`l`crcd catastrophic bodily injuries. occurred in

Volusia County, Florida; and l\/lr. Cawthorn`s suit against Mr. Ledford. which was defended by

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Auto-Owners. Was brought, litigated, and defended in Volusia County, Florida. See David
Madison Cawlhorn v. B)‘adle_t-' D. [.cr{ford and Br)/) Le¢{f¢`)rd`.s~ Rl" & ;\'Ic'i)'i)?e. Case No. 2014
l 1310 CIDL (the “Volusia County La\.vsuit”).

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4. Auto-Owners is a l\/liehigan corporation with. on information and belief. its
principal place of business in l.ansing. i\'lichigan. Auto-O\\'ners is licensed to conduct
insurance business in Florida. and currently markets and sells contracts of insurance. including
automobile insurance. throughout l"`lorida. including in this District.

5. Mr. Ledford is a North Caro|ina citizen. a resident ol` Arden. Buncombe County.
North Carolina. and was a guest at his father`s second home in Polk County. Florida, on or
about the date that the underlying automobile accident occurred.

6. Mr. Cawthorn is a North Caro|ina citizen. a resident of Flat Rock. Henderson
County. North Carolina. and was a guest at l\/lr. l.edford`s l`ather`s second home in Polk
County, Florida, on or about the date that the underlying automobile accident occurred.

Factual Allcgations

7. On April 3. 2014. while t\'lr. Ledt`ord was driving a 2007 BMW X3 with Mr.
Cawtllorn as a passenger. Mr. Ledford fell asleep at the wheel and crashed into a road barricade
located along highway 1-4 in Volusia County. Florida.

8. Mr. Cawthorn was catastrophica|ly injured as a result of the crash, suffering
third-degree burns. internal injuries. multiple broken bones and two crushed vertebrae. He was

airlifted to Halifax hospital in Volusia County where he received emergency life-saving

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treatment. Today, Mr. Cawthorn is alive. but can no longer use his legs and is permanently
disabled as a paraplegic.

9. At the time of the accident. Mr. Ledt`ord was an insured person under Auto-
Owners l’olicy No. 48-9()1-9()5-()0. which provided him with $liOO0,000 of primary
automobile liability coverage, and Policy No. 48-901-965-01 (collectively, "the Po|icies”)
which provided an additional $2.()00.00() in excess coverage, The named insured under both
policies was “Bob l.edford`s R\/ & t\"larine. lnc." (bereinal`ter. “Bob Ledford RV") who was
the owner of the vehicle involved in the crash.

l(). As the driver of the vehiclc. Mr. Ledford was liable to Mr. Cawthorn for the
injuries he suffered; and as the owner ofthe vehicle. Bob l.cdford RV was vicariously liable for
those injuries.

l l. On information and belief. Auto-Owners learned ol" the accident within hours of
its occurrence and assigned Pamela McLean to adjust the claim during April 2014. Ms.
McLean is an employee and agent of Auto-Owncrs. and works out of an Auto_O\vners office
located in Ocala. Florida.

12. As part of its investigation. Auto-Owners contacted Halifax hospital in Volusia
County (during April 2014). Shepherd`s Spina| (`ord and Brain lnjury Rehabilitation Center in
Atlanta (during May 2014). Mr. Ca\\»‘thorn`s parents. Roger and l’riscilla Cawthorn (between
April 3 and mid-June 2014). and David Ledford and .loni C`anterbury (also between April 3 and
mid-.lune 2014). Auto-Owners also reviewed updates on Mr. Cawthorn’s condition via

notifications posted on a social media webpage during this time pcriod.

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13. Tliat investigation conducted by Auto-(')\\»'ners was sufficient for Auto-Owners
to conclude that l\/Ir. Ledford was liable for Mr. Cawthorn’s catastrophic injuries. and that Mr.
Cawthom’s catastrophic injuries were likely to far exceed the Policies` combined $3,000,000
bodily injury liability limits. a conclusion that Auto-Owners confirmed in a statement to the
insurance agent for Bob l.edford RV no later than .luly l4. 2014.

l4. Despite reaching this conclusion, Auto-Owners failed to offer the Policies’
combined policy limits to l\/lr. Cawthorn to settle his claims against its insureds.

l5. l-lad Auto-()wners timely offered Mr. Cawthorn the Policies` combined policy
limits to settle his claims against .»‘\uto-Owners` insurcds. Mr. l-edford and Bob Ledford R.V.,
Mr. Cawthorn would have accepted that offer and released his claims against them.

16. lnstead, on .lune 2(). 20l4. lvlr. Cawthorn filed the Volusia County Lawsuit
against Mr. Ledl`ord and Bob Ledl`ord R.V. for negligence and vicarious liability to recover
damages for the catastrophic injuries he suffered related to the accident that occurred on April
3, 2014.

17. On August 8. 2014. more than four months after the underlying accident and
long after Auto-O\\'ners had determined that its insureds were liable to l\/lr. Cawthorn for
damages for his catastrophic injuries that were certain to far exceed the available insurance
coverage. Auto-Owners extended. for the first time. a settlement offer to Mr. Cawthorn for the
Policies` 33.000.000 bodily injury liability limits

l 8. l\/lr. Cawthorn rejected that ol`fcr.

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19. Pursuant to its obligations under the Policies. Auto-Owners retained a Florida-
licensed lawyer to defend i\/Ir. Ledford in the Volusia County Lawsuit. (lt also retained a
separate Florida lawyer for Bob Ledford R.V.)

20. l\/lr. Ledford`s insurer-appointed lawyer defended him in the Volusia County
Lawsuit over the next two years. 'l`he case led to numerous depositions, settlement
conferences and court hearings in Florida and specifically in Volusia County, in which Auto-
Owners’ adjustors and other representatives were involved.

2l. ln correspondence dated September 3. 2016, Auto-Owners agreed to tender the
Policies` $3.000.000 bodily injury liability limits to l\/lr. Cawthorn to settle only his claims
against Bob Ledford R.V. /\titti-()\\'iters acknowledged that this settlement would exhaust the
Policies` aggregate limits. including all limits otherwise available to settle the claims against its
other insured. Mr. Ledford. As stich. Auto-Owncrs concluded by stating, “As for a future
consent judgment against [Mr. Ledford]. that will be solely up to him [and his lawyers].”

22. A settlement agreement between l\/lr. Cawthorn and Bob Ledford R.V. for the
Policies` $3,000.000 liability insurance limits was executed on November 16, 20]6.

23. On December 20. 201(). the trial court in the Volusia County Lawsuit entered a
final judgment against Mr. Ledford in favor of l\'lr. Cawthorn in the amount of $30,000.000
(attached herein as Exhibit A) thereby resolving Mr. Ca\vthorn’s claims against Mr. Ledford
for an amount far exceeding the Policies’ combined bodily injury liability limits.

24. in order to protect his rights and pursue his remedies Mr. Cawthorn was
required to engage undersigned counsel to represent him in this action and has agreed to pay

the undersigned a reasonable fee for the professional services rendered.

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25. All conditions precedent to bringing this action have been performed, waived. or
have otherwise occurred.

Count l - Common Law Bad Faith

26. l\/Ir. Cawthorn re-alleges paragraphs l through 25 as fully set forth herein.

27. At all times herein. l\/Ir. Ledford was an insured ofAuto-Owners.

28. Auto-Owners had a contractual and fiduciary obligation to defend Mr. Ledford
in Florida. as its insured. and such perl`t‘)rmance of its contractual duties is governed by Florida
law.

29. Auto-Owners owed l\/lr. Ledford. as its insured. a duty to use the same degree of
care and diligence in the investigation. evaluation. and defense of the claims against him as a
person ofordinary care and prudence should exercise in the management of his or her business.

30. Auto-Owners owed Mr. I.edford. as its insurcd, a fiduciary duty make decisions
on his behalf. including decisions regarding settlement. in good faith and with dtie regard for
his interest.

31. Auto-Owners owed l\»lr. Ledford. as its insured. a duty to investigate the facts
diligently. to give fair consideration to atty settlement not unreasonable under the facts, and to
settle. if possible. where a reasonably prudent person. faced with the prospect of paying the
total recovery. would do so.

32. Auto-Owners was obligated to act fairly and honestly towards Mr. Ledford. as
its insured. and it owed him a duty to advise him of all settlement opportunities of the probable

outcome of Mr. Cawthorn`s litigation against liiin. to warn t\'lr. Ledford of the possibility and

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likelihood a judgment in excess his insurance |imits. and to advise l\/Ir. Ledford of any and all
steps he could take to avoid an excess judgment.

33. lnsofar as Mr. Ledford’s liability was clear, and Mr. Cawthom’s injuries were so
serious and catastrophic that a judgment far in excess ofl\/lr. Ledford's insurance coverage was
likely. Auto-Owners owed Mr. l.edford. as its insui'ed_ an affirmative duty to initiate settlement
negotiations and to offer its policy limits to settle the claims against him.

34. Auto-Owners knew or should have known that the facts of the accident were
such that it was probable Mr. Ledford and Bob l.edford R.V. would bc found liable for the
catastrophic injuries Mr. Cawthorn suffered as a result of the automobile accident that occurred
on April 3. 2014. and that Mr. Ledford`s liability to Mr. Cawthorn would far exceed all
available insurance coverage,

35. Based on this knowledgc. Aulo-()wners had a duty to offer its aggregate policy
limits to Mr. Cawthorn in exchange for a release of his claims against Auto-Owners’ insureds.

3(). Nevertheless, Auto-Owners failed to make an aggregate policy limits settlement
offer to Mr. Cawthorn during the period ol` time in which i\/lr. Cawthorn would have accepted
this offer and released his claims.

37. Had such a timely offer of the policy limits been made. Mr. Cawthorn would
have released his claims against both ofAuto-Owners’ insureds. Mr. Ledford and Bob Ledford
R.V.. for Auto-Owncrs` aggregate policy limits

38. Auto-Owners` unreasonable and bad faith failure to perform its duties was the
proximate cause of the $30.000.000 excess judgment entered against Mr. Ledford in favor of

Mr. Cawthorn.

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39. As a direct and proximate cause of Auto-Owners` bad faith. Mr. Ledford and

Mr. Cawthorn have suffered damages

WHEREFORE. Mr. Cawthorn demands thatjudgment be enterred against Auto-Owners

lnsurance Company for clamages, including the judgment entered against Mr. Ledford in the

Volusia County lawsuit. pre- and post-judgment interest thereon: attorneys` fees and costs

incurred in this action pursuant to Fla. Stat. § 627.428 or any other applicable statute. and any

ftirther relief this Court deems equitable. just. and proper.

Trial bv Ju[y

Plaintiff. i\'lr. Cawthorn. hereby requests a trial by jury on all issues so triable.

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Dated this/ll@_ day of_MfW . 201().

Resp:ctfully W{:i;ted.

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CERTlFlCATE OF SERVICE

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CER'I`|FICATE OI" SERVICE

l HEREBY CERTIFY that tlte foregoing document was electronically filed with the
Clerk of the Court using Cl\/I/ECF, this lib day of SZCCMMW , 20]6, and a true and
correct copy of the foregoing was also served on all counsel of record or pro se parties
identified on the attached Service l-ist in the manner specified either via transmission of
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